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                            OFFICE OF THE CLERK
                        UNITED STATES DISTRICT COURT
                           Northern District of California

                                       CIVIL MINUTES


 Date: June 1, 2022                Time: 11:27 – 12:04        Judge: YVONNE GONZALEZ
                                                              ROGERS
 Case No.: 20-cv-05146-YGR         Case Name: Calhoun v. Google LLC
           21-cv-02155-YGR                    In re Google RTB Consumer Privacy Litigation



Attorney for Plaintiff (20-cv-5146): Lesley Weaver
Attorney for Plaintiff (21-cv-2155): Jonathan Levine, Lesley Weaver
Attorney for Defendant (20-cv-5146): Jomaire Crawford, Andrew Shapiro
Attorney for Defendant (21-cv-2155): Jeff Gutkin

 Deputy Clerk: Aris Garcia                             Recorded via Zoom:

                                        PROCEEDINGS

Status Conference – Held via Zoom.

Plaintiff in 20-cv-5146 shall file a brief not to exceed 12 pages underseal to be served upon

defendant counsel in 21-cv-2155 regarding how Calhoun applies to RTB due by 6/8/2022.

Defendant’s response not to exceed 12 pages due by 6/15/2022.

Plaintiff’s reply not to exceed 6 pages due by 6/18/2022.
